OPINION — AG — THE PROPOSED AMENDMENT TO THE OKLAHOMA CONSTITUTION DIRECTING THAT ALL SUCH ROYALTIES, BONUSES, RENTALS AND OTHER MONEYS, ETC., BE DEPOSITED IN THE PROPOSED "STATE PUBLIC COMMON SCHOOL BUILDING EQUALIZATION FUND", WOULD BE INEFFECTIVE WITHOUT PERMISSIVE FEDERAL LEGISLATION AMENDING THE ENABLING ACT. CITE: ARTICLE XI, SECTION 1, ARTICLE XI, SECTION 2, ARTICLE XI, SECTION 3 (J. H. JOHNSON)